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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA                )
                                         )
              v.                         )      1:12-cr-00160-JAW
                                         )
 MALCOLM A. FRENCH, et al.               )


                   ORDER DENYING MOTION FOR NEW TRIAL

       The Defendants were found guilty of numerous crimes in January 2014

 following a three-week jury trial. Over one year later, they request an evidentiary

 hearing and new trial, claiming that a juror may have failed to honestly answer a

 material voir dire question, and had he answered truthfully, it would have provided

 a valid basis for a challenge for cause. To determine whether the juror did in fact fail

 to honestly answer a material voir dire question, the Defendants request that the

 Court bring in the juror and interview him. Having received an investigative report

 and testimony from the involved witness about his prior relationship with the juror

 and having considered the potential pitfalls from questioning the juror, the Court

 concludes that no further evidentiary hearing, specifically a proceeding involving

 questioning of the juror, is warranted. Finally, the Court concludes that the evidence

 does not come close to establishing that the juror failed to honestly answer a material

 voir dire question or that a positive response would have been a valid basis for a

 challenge for cause. The Court denies their motion for new trial.
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 I.    BACKGROUND

       A.     Indictment, Trial and Verdict

       On September 14, 2012, a federal grand jury indicted Malcolm A. French,

 Rodney Russell, Kendall Chase and Haynes Timberland, Inc. for a series of federal

 crimes relating in general to their alleged involvement with a marijuana growing

 operation in Maine.1 Indictment (ECF No. 2). On November 13, 2013, a grand jury

 issued a superseding indictment. Superseding Indictment (ECF No. 187). Jury

 selection was held on January 8, 2014 and a jury trial commenced immediately after

 selection. Minute Entry (ECF No. 281). The trial took place from January 8, 2014

 through January 24, 2014. Minute Entry (ECF No. 308). On January 24, 2014, the

 jury returned verdicts finding Malcolm French, Rodney Russell, and Kendall Chase

 guilty of engaging in a conspiracy to manufacture marijuana, finding Malcolm French

 and Rodney Russell guilty of manufacturing marijuana, finding Malcolm French,

 Rodney Russell, and Haynes Timberland, Inc. guilty of managing or controlling a

 drug-involved premises, finding Malcolm French and Rodney Russell guilty of

 harboring illegal aliens, and finding Malcolm French, Rodney Russell, and Kendall

 Chase guilty of engaging in a conspiracy to distribute marijuana. Jury Verdict Form

 (ECF No. 311).

       B.     Motion for New Trial

       On October 3, 2014, Malcolm French filed a motion for new trial. Def.’s Mot.

 for New Trial (F.R. Crim. P. 33(a)) (ECF No. 440) (French Mot.). On October 6, 2014,



 1     Other Defendants were also indicted but are not relevant to the pending motion.

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 Rodney Russell joined Mr. French’s motion and on October 10, 2014, Kendall Chase

 did as well. Def. Rodney Russell’s Reply to Def. Malcolm French’s Mot. for New Trial

 (F.R.Crim.P. 33(a)) (ECF No. 438); Def. Chase’s Notice of Joinder to Def. French’s Mot.

 for New Trial Dated Sept. 30, 2014 (ECF No. 447).                     On October 23, 2014, the

 Government filed an objection to the Defendants’ motion for new trial.                         Gov’t’s

 Objection to Def.’s Mot. for New Trial (ECF No. 453) (Gov’t’s Opp’n). On November 4,

 2014, Mr. French filed a reply to the Government’s opposition. Def.’s Reply to the

 Gov’t’s Objection to Mot. for New Trial (F.R. Crim. P. 33(a)) (ECF No. 456) (French

 Reply). Also on November 4, 2014, Haynes Timberland, Inc. joined the Defendants’

 motion for new trial. Def. Haynes Timberland, Inc.’s Joinder of Def.’s Mot. for New

 Trial Pursuant to F.R. Crim. P. 33([a]) (ECF No. 457).                     The Court heard oral

 argument on March 17, 2015.2 Minute Entry (ECF No. 487).

 II.    THE PARTIES’ POSITIONS

        A.      The Defendants’ Motion

        The Defendants’ motion for new trial is based on an allegation of juror

 misconduct during voir dire and they ask for an evidentiary hearing to determine

 whether the verdicts should be vacated. French Mot. at 1-7. The Defendants claim

 that one of the jurors, Juror Number 79, failed to respond truthfully during voir dire

 as to whether he knew Steve Koenig, one of the Government’s witnesses. Id. at 3.




 2       To satisfy counsel’s anticipated curiosity as to who ordered the preparation of the transcript,
 the Court ordered the court reporter to prepare a certified transcript of the March 17, 2015 hearing in
 order to make certain that it was accurately quoting the proceedings.

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 The Defendants say that Juror Number 79 denied knowing Mr. Koenig, when in fact

 he knew him. Id. Juror Number 79 was named foreman of the jury. Id.

       The Defendants maintain that Mr. Koenig was a “key witness” for the

 Government and that Juror Number 79 not only knew Mr. Koenig, but had also

 directly consulted with him concerning fisheries habitat restoration on land owned

 by Mr. French and Haynes Timberland, Inc. Id. at 3, 5. In fact, Defendants claim,

 Juror Number 79 had a “personal interest in the outcome of the trial” because he “for

 literally years, ha[d] crusaded for the cause of improving fish habitat and

 passageways in the state of Maine.” Id. at 5. The Defendants assert that Mr. French

 testified at trial that “he felt certain groups were ‘hostile environmental groups’ in

 their approach to fisheries problems in Maine.” Id. at 5-6.

       Finally, the Defendants say that the forfeiture allegations in the Superseding

 Indictment “made it clear that the Government was seeking to force [Mr.] French and

 Haynes Timberland to forfeit large tracts of land—land which had culverts and

 streams that [Juror Number 79] would have no doubt viewed as highly valuable in

 his crusade to restore Maine fisheries habitat.” Id. at 6. The Defendants claim:

       From [Juror Number 79]’s perspective as a juror and advocate of Maine
       fisheries habitat protection, a verdict of guilty was a victory for Maine
       fisheries habitat because there was ample reason to suspect that
       forfeited lands would be taken from French’s hands and placed into the
       trusted hands of the same federal and/or state government entities that
       he had collaborated with closely in the past.

 Id.
       The Defendants also say that Juror Number 79 listed his occupation only as

 “biologist” in the juror questionnaires. Id. at 3. However, they subsequently learned



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 that Juror Number 79 was a biologist for the National Park Service and therefore an

 employee of the federal government, “no small fact in a case prosecuted by the federal

 government.” Id. at 3-4. Moreover, they assert that Juror Number 79’s field of biology

 focuses on fisheries and fish passages and that he had “an identical interest with

 Koenig in protecting Maine fish and restoring Maine fish habitat, particularly the

 Eastern Brook Trout.” Id. at 4 (emphasis in original). They claim that Juror Number

 79 “is the author of publications concerning Maine fish habitat studies . . . and has

 been a speaker at conferences discussing these same issues.” Id. at 4-5. They also

 say that Juror Number 79 worked with Scott Craig of the U.S. Fish and Wildlife

 Service’s Maine Fisheries Resource Office, and that Mr. Craig worked with Mr.

 Koenig on salmon restoration projects. Id. at 5. Indeed, the Defendants allege that

 Mr. Koenig “had spoken with [Juror Number 79] directly in the past for the specific

 purpose of consulting with him about some of the very projects undertaken for

 fisheries habitat restoration on French and Haynes Timberland’s lands.”              Id.

 (emphasis in original).

       Citing the vital importance of an impartial jury, the Defendants say that the

 First Circuit has set forth a “binary test for determining whether a party should be

 granted a new trial based on juror dishonesty.” Id. at 2 (citing Sampson v. United

 States, 724 F.3d 150, 164-65 (1st Cir. 2013)). First, the moving party must establish

 that “‘the juror failed to answer honestly a material voir dire question.’” Id. (quoting

 Sampson, 724 F.3d at 164). Second, the moving party must establish that “‘a truthful

 response to the voir dire question would have provided a valid basis for a challenge



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 for cause.’” Id. (quoting Sampson, 724 F.3d at 165). The Defendants maintain that

 they have met the Sampson binary test and that the Court should order an

 evidentiary hearing to “determine whether to vacate his sentence and order a new

 trial based on newly discovered evidence of juror dishonesty.” Id. at 7.

       B.     The Government’s Opposition

       The Government disagrees. Gov’t’s Opp’n at 1-12. First, the Government

 points out that “[w]ell in advance of jury selection, juror questionnaires were made

 available to all the parties for their review” and in his questionnaire, Juror Number

 79 “disclosed, among other things, his occupation, his employer and his duties at his

 place of employment.” Id. at 2 (citing Sealed Ex. 1).

       Next, the Government reviews the jury voir dire process, including the

 Magistrate Judge’s direct question to Juror Number 79 as to whether he knew anyone

 on the witness list, to which he replied, “No, I don’t.”       Id. at 3 (quoting Tr. of

 Proceedings 131:22-24 (ECF No. 399) (Voir Dire Tr.)). Furthermore, the Government

 observes that the Magistrate Judge informed Juror Number 79 that there was a

 witness list on his seat and he should leaf through it to see if he recognized any

 names, and that Juror Number 79 “never indicated that he knew any of the named

 witnesses.” Id.

       The Government also notes that the Magistrate Judge asked a broad question

 of the potential jurors as to whether they harbored any “philosophical, moral, social,

 political, or other beliefs or views that would interfere with their ability to follow the

 law as instructed by the court?” Id. (quoting Voir Dire Tr. 133:4-7). To that general



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 question, the Government says, the Magistrate Judge stated that “no one has

 responded in the affirmative.” Id. (citing Voir Dire Tr. 133:7-8).

       The Government dismisses the Defendants’ claims of bias on the part of Juror

 Number 79 first because it says the information about Juror Number 79 was either

 actually revealed on his juror questionnaire or readily available prior to trial and in

 either case, is not newly discovered evidence. Id. at 6-7. Second, the Government

 presses the point that none of the Defendants sought to ask Juror Number 79 about

 any biases that he might have harbored. Id. at 7. Jurors, the Government argues,

 “cannot be faulted for not answering a question that they were not asked.” Id.

 Furthermore, the Government contends that even though the Defendants describe

 Juror Number 79 as being on a crusade, they have produced no evidence proving this

 speculative allegation. Id.

       The Government is skeptical about the Defendants’ contention that Juror

 Number 79 must have known Mr. Koenig because he knew Scott Craig and Scott

 Craig knew Juror Number 79. Id. at 8-9. First, the Government says that it is purely

 speculative and second, the Government maintains that all of this information was

 available before trial.   Id.   Next, the Government asserts that the Defendants’

 allegations about the supposed relationship between Juror Number 79 and Steve

 Koenig are arguments only, not supported by any evidence, and should be

 disregarded.   Id. at 9. In fact, following receipt of the Defendants’ motion, the

 Government had Mr. Koenig interviewed and it says that the Defendants’

 “characterization of the ‘interpersonal relationship’ between Juror #79 and Koenig is



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 overstated.”    Id. at 10.   The Government reveals that after trial, Mr. Koenig

 “exchanged two or three e-mails with Juror #79 concerning a tour of some of Koenig’s

 conservation projects.” Id. at 11. But the Government observes that these contacts

 took place after trial and could not have affected either Juror Number 79’s voir dire

 responses or the verdict itself. Id.

        C.      The Defendants’ Reply

        In their reply, the Defendants assert that they have demonstrated that Mr.

 Koenig and Juror Number 79 had been in touch before trial about work on Mr.

 French’s land. French Reply at 2. They stress that they did not know about this

 pretrial contact until after trial and learned about this post-trial contact only when

 the Government interviewed Mr. Koenig after trial. Id. & n.1. They say that Mr.

 Koenig told the Government after trial that “he had contact with Juror #79 in roughly

 2005 or 2006 about use of a ‘grip hoist’ or ‘come-along.’” Id. at 2. The Defendants

 emphasize that “[i]t is also very important to note that this contact was about

 Koenig’s work on land owned by Malcolm French.” Id. In short, the Defendants say:

        Koenig, a key trial witness, admits to having had conversations with the
        foreman of French’s jury prior to the trial. This contact with Juror #79
        was not simply about the weather or sports, but instead concerned work
        on the land of Defendant Malcolm French.

 Id. at 3 (emphasis in original). The Defendants contend that Mr. Koenig’s failure to

 recognize Juror Number 79 during the trial does not answer whether Juror Number

 79 recognized him. Id.

 III.   LEGAL PRINCIPLES

        A.      Legal Standard

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              1.     The Constitutional Right to an Impartial Jury

       The Sixth Amendment of the United States Constitution guarantees

 defendants in a federal criminal trial the right to an “impartial jury.” U.S. CONST.

 amend. VI (“In all criminal prosecutions, the accused shall enjoy the right to a speedy

 and public trial, by an impartial jury of the State and district wherein the crime shall

 have been committed . . . .”). “An impartial jury is one ‘capable and willing to decide

 the case solely on the evidence before it.’”       Sampson, 724 F.3d at 163 (quoting

 McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548, 554 (1984)). “Voir dire is

 a singularly important means of safeguarding the right to an impartial jury.” Id. “A

 probing voir dire examination is ‘[t]he best way to ensure that jurors do not harbor

 biases for or against the parties.’” Id. at 163-64 (quoting Correia v. Fitzgerald, 354

 F.3d 47, 52 (1st Cir. 2003)). Furthermore, “[t]he party seeking to upset the jury’s

 verdict has the burden of showing the requisite level of bias by a preponderance of

 the evidence.” Id. at 166.

              2.     An Honest Mistake or a Dishonest Response

       In Sampson, the First Circuit established two requirements for when dishonest

 answers at jury empanelment may justify setting aside a verdict: “first, that the juror

 failed to answer honestly a material voir dire question”; and, second, that an honest

 answer “would have provided a valid basis for a challenge for cause.” Id. at 164-65

 (internal citations and quotation marks omitted). Regarding the first requirement,

 the Supreme Court in McDonough addressed a juror in a products liability case who

 during voir dire failed to reveal that his son was injured as a result of an exploding



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 tire. 464 U.S. at 549-55. The McDonough Court discussed whether the juror’s failure

 to respond was “mistaken, though honest” as opposed to a failure to answer honestly.

 Id. at 555-56. The Supreme Court emphasized that the party moving for new trial

 must demonstrate “that a juror failed to answer honestly a material question on voir

 dire.” Id. at 556. “[A] voir dire question is material if a response to it ‘has a natural

 tendency to influence, or is capable of influencing,’ the judge’s impartiality

 determination.” Sampson, 724 F.3d at 165 (quoting Neder v. United States, 527 U.S.

 1, 16 (1999)).

       In Sampson, the First Circuit expanded upon the McDonough distinction

 between an honest mistake and intentional dishonesty:

       Of course, a juror, during voir dire, may make honest, but mistaken
       responses. This category includes situations in which, for example, the
       juror misunderstands the wording of the question, fails to recall the
       correct response, or is not asked a question that would necessitate
       disclosure of the relevant information. We do not explore here the effect
       of honest but mistaken voir dire responses. For present purposes, it
       suffices to say that in the absence of dishonesty, post-trial relief, if
       available at all, will require a more flagrant showing of juror bias.

 Id. at 164 n.8; see also United States v. Fuentes, No. 2:12-CR-50-DBH, 2013 U.S. Dist.

 LEXIS 115459, at *18-19 (D. Me. Aug. 15, 2013). As the First Circuit wrote in

 Sampson and the district court observed in Fuentes, an honest but mistaken response

 may still entitle a defendant to a new trial but only if the defendant has made “a more

 flagrant showing of juror bias.” Id.

              3.     Valid Basis for a Challenge for Cause

       “The second part of the binary test requires a finding that a truthful response

 to the voir dire question ‘would have provided a valid basis for a challenge for cause.’”

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 Sampson, 724 F.3d at 165 (quoting McDonough, 464 U.S. at 556). “Jurors normally

 are subject to excusal for cause if they are biased or if they fail to satisfy statutory

 qualifications.” Id. Here, as in Sampson, “only bias is relevant.” Id. In making a

 bias determination, the First Circuit resisted the temptation to create categories of

 bias. Id. Instead, it directed the trial courts to ask whether the juror was “‘capable

 and willing to decide the case solely on the evidence.’” Id. (quoting McDonough, 464

 U.S. at 554). It observed that the Supreme Court warned that “‘hints of bias [are] not

 sufficient’” and only “‘[d]emonstrated bias in the responses to questions on voir dire

 may result in a juror’s being excused for cause.’” Id. (quoting McDonough, 464 U.S.

 at 554). The First Circuit also noted that “bias is not a pedagogical conception but

 rather a state of mind” and “[a]ny inquiry into potential bias in the event of juror

 dishonesty must be both context specific and fact specific.” Id.

       With these principles in mind, the Sampson Court set down the test:

       [W]hether a reasonable judge, armed with the information that the
       dishonest juror failed to disclose and the reason behind the juror’s
       dishonesty, would conclude under the totality of the circumstances that
       the juror lacked the capacity and the will to decide the case based on the
       evidence (and that, therefore, a valid basis for excusal for cause existed).

 Id. at 165-66. To this end, the First Circuit listed some of the factors that the trial

 court might consider: (1) “the juror’s interpersonal relationships”; (2) “the juror’s

 ability to separate her emotions from her duties”; (3) “the similarity between the

 juror’s experiences and important facts presented at trial”; (4) “the scope and severity

 of the juror’s dishonesty”; and (5) “the juror’s motive for lying.” Id. at 166. The First

 Circuit further explained that while “any one of these factors, taken in isolation, may



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 be insufficient to ground a finding of a valid basis for a challenge for cause, their

 cumulative effect must nonetheless be considered.” Id.

 IV.    DISCUSSION

        A.     What the Defendants Knew or Should Have Known at Voir Dire

        In McDonough, the Supreme Court was careful to point out that “it ill serves

 the important end of finality to wipe the slate clean simply to recreate the peremptory

 challenge process because counsel lacked an item of information which objectively he

 should have obtained from a juror on voir dire examination.” 464 U.S. at 555. The

 Sampson binary test implicitly requires defendants to have asked the right questions

 of the juror during voir dire. See Sampson, 724 F.3d at 164-65 (an honest answer

 “would have provided a valid basis for a challenge for cause”). In 1989, the Second

 Circuit asked whether the defendant “was prevented from intelligently exercising his

 peremptory and causal challenges because of the juror’s intentional nondisclosure.”

 United States v. Colombo, 869 F.2d 149, 151 (2d Cir. 1989).

               1.     What the Defendants Knew or Should Have Known About
                      Juror Number 79

        Preliminarily, the Court asks what information the Defendants either

 possessed or, in the exercise of due diligence, should have possessed about Juror

 Number 79. The answer is that the Defendants either actually knew or should have

 known through the voir dire process virtually all of the information they now claim

 justifies a new trial.

        In their motion, the Defendants write:




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        Information from the “Juror List” provided to counsel prior to jury
        selection indicated that [Juror Number 79] was a “biologist.” More
        particularly, [Juror Number 79] is a biologist for the federal National
        Park Service. This is no small fact in a case prosecuted by the federal
        government. Moreover, [Juror Number 79] is a federal biologist with a
        focus on fisheries and fish passages. Exhibits A-J. These facts may not
        appear to have any particular bearing on the outcome of the typical
        marijuana trafficking case, but they are particularly relevant to the
        facts of this case and the Magistrate’s impartiality determination at jury
        selection.

 French Mot. at 3-4 (emphasis in original). The Court is not entirely clear what the

 Defendants’ point is here. Exhibits A through J of Defendants’ motion externally

 confirm through outside publications that Juror Number 79 was a biologist working

 for the National Park Service with a focus on fisheries and fish passages and the

 Defendants seem to imply that they were required to perform external research in

 order to determine these facts about Juror Number 79. If they are now saying that

 they were not given access to this information about Juror Number 79 before jury

 selection, this is factually incorrect.

        Before trial, each potential juror was required to complete a juror

 questionnaire that was made available to the parties. Juror Number 79 completed

 such a questionnaire.      Gov’t’s Opp’n Attach. 1.    Based on Juror Number 79’s

 responses, the parties knew the following about Juror Number 79:

        (1)    His residence address;

        (2)    His age;

        (3)    How long he had lived in the state of Maine;

        (4)    His place of birth;

        (5)    His occupation;

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       (6)     His employer;

       (7)     His employer’s address;

       (8)     His spouse’s occupation;

       (9)     He was a salaried employee of the United States Government;

       (10)    The absence of any prior felonies;

       (11)    The absence of any pending felony charges;

       (12)    His marital status;

       (13)    His number of children;

       (14)    His prior jury service;

       (15)    His level of education; and

       (16)    A general description of his duties at work.

 Id. at 1-3. Among other things, a cursory review of Juror Number 79’s completed

 questionnaire would have confirmed much more than just that he was a “biologist.”

 The completed questionnaire revealed, among other things, that he was a biologist

 working for the federal government not far from Township 37 in the natural resources

 field and that his duties included working in the field of “wildlife management.” Id.

 at 2. The Defendants’ claim that they did not know this information is simply

 inaccurate.

       If the Defendants had been troubled during jury selection by the presence on

 the jury of a federal employee working in the natural resources field, specifically in

 wildlife management, they could have asked the Court to inquire further as to the

 specific nature of his duties and ascertained whether his wildlife management



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 included fisheries and fish passages, and whether he knew anything about and had

 any views about the salmon restoration projects in Washington County.

       Alternatively, before trial, they could have done the outside research they did

 after trial. Each of Exhibits A through J predates the trial and by the Court’s facial

 review, there is no indication that any of the information about Juror Number 79 that

 the Defendants now claim was unknown to them would have been unavailable with

 due diligence before trial.

       Comparing the information about Juror Number 79 that the Defendants

 complain they did not know during jury selection with the information that they

 actually knew or should have known with the exercise of due diligence, the Court

 finds that the Defendants have failed to demonstrate that they did not actually know

 or, with the exercise of due diligence, could not have found out virtually all of the

 information about Juror Number 79 that now forms the basis of their motion for new

 trial. McDonough, 464 U.S. at 555 (noting that “it ill serves the important end of

 finality to wipe the slate clean simply to recreate the peremptory challenge process

 because counsel lacked an item of information which objectively he should have

 obtained from a juror on voir dire examination”).

              2.     What the Defendants Knew or Should Have Known About
                     Steve Koenig

       In their motion, the Defendants assert that “[u]pon information and belief from

 evidence only discovered after the verdict in this case, [Juror Number 79] knew

 Koenig and had directly communicated with Koenig in the past, despite [Juror

 Number 79]’s claim at jury selection that he did not know Koenig.” French Mot. at 5.

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 To answer whether the Defendants had enough information at the time of jury

 selection to link Juror Number 79 with Steve Koenig, the Court has to know what the

 Defendants knew about Steve Koenig before jury selection. The Court therefore

 reviews how Steve Koenig came to be called as a witness.

       The Government filed a trial brief and a witness list in this case on December

 31, 2013, a supplementary trial brief on January 2, 2014, and a second supplementary

 trial brief on January 6, 2014. Gov’t’s Trial Br. (ECF No. 246); Gov’t’s Witness List

 (ECF No. 248); Supplemental Trial Br. (ECF No. 259); Second Supplemental Trial

 Br. (ECF No. 265). Steve Koenig’s name is not mentioned in any of these documents.

 None of the Defendants mentioned Mr. Koenig’s name in their pretrial memoranda.

 Def. Haynes Timberland, Inc.’s Trial Br. (ECF No. 250); Def. Malcolm A. French’s

 Trial Br. (ECF No. 251); Def. Rodney W. Russell’s Trial Br. (ECF No. 256); Def.,

 Kendall Chase’s Trial Br. (ECF No. 258).

       The name Steve Koenig first appears in Court filings on Rodney Russell’s

 witness list. Def. Rodney Russell’s Witness List at 1 (ECF No. 268) (Russell Witness

 List). Mr. Koenig also appears on Malcolm A. French’s witness list. Def.’s Witness

 List at 1 (ECF No. 272). From these filings, the Court is able to conclude that at least

 two of the Defendants were aware of Steve Koenig and this conclusion is confirmed

 at least as to Mr. French by the trial testimony of Mr. Koenig and Mr. French. Partial

 Tr. of Proceedings (ECF No. 393) (Koenig Trial Test.); Partial Tr. of Proceedings (ECF

 No. 362) (French Trial Test.).




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       Mr. Koenig’s trial testimony revealed that since 2001 he had been Executive

 Director of Project SHARE, which stands for Salmon Habitat and River

 Enhancement. Koenig Trial Test. 3:23-25, 4:8-9. Project SHARE, Mr. Koenig said,

 has a mission to restore habitat in five Down East salmon rivers, including the

 Dennys, East Machias, Machias, Pleasant and Narraguagus. Id. 4:1-7. Mr. Koenig

 had performed salmon restoration work in Township 37, which contains the Old

 Stream sub-watershed of the Machias River, one of the best areas for salmon in the

 state of Maine. Id. 7:4-13. After Haynes Timberland, Inc. and Malcolm and Barbara

 French assumed ownership of the area of Township 37 once owned by Champion

 International Paper Company or International Paper Company, Mr. Koenig sought

 the Frenches out. Id. 7:14-8:18. He said that he had some interactions with Barbara

 French but that Malcolm French was usually his contact. Id.

       Mr. Koenig explained that his work entails—among other things—dealing

 with landowners to rebuild culverts on salmon rivers and streams so that the salmon

 are better able to pass through, what he called “connectivity.” Id. 4:17-24. Project

 SHARE did this type of culvert restoration work on land owned by Haynes

 Timberland, Inc. and/or Malcolm and Barbara French in 2006, 2007 and 2009. Id.

 7:4-6, 10:3-23, 11:6-8, 13:24-18:8. As is common, Mr. French supplied his own crew,

 in his case, Cold Stream Contracting, to actually perform the culvert work. Id. 11:6-

 8. Mr. Koenig oversaw the physical construction of the culvert project. Id. 11:2-5.

 Typically, the landowner will bill Project SHARE for the culvert work, and in Mr.

 French’s case, initially the invoices came from Cold Stream Contracting and later



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 from Haynes Timberland, Inc. Id. 12:21-13:2. Although Mr. French was not present

 on the culvert construction site on a regular basis, he was there on occasion. Id.

 12:17-20. Some of the Township 37 roads were gated and in order to gain access to a

 gated road within Haynes Timberland land in Township 37, Mr. Koenig testified that

 he could contact either Mr. French or a forester named Scott MacPherson, or they

 would walk around the gate. Id. 37:16-38:4.

       In addition to Mr. Koenig’s testimony, Mr. French testified that he had worked

 with Steve Koenig. French Trial Test. 45:18. Mr. French said that he had “seen what

 Steve Koenig was doing getting grant money.” Id. 48:14-15. In fact, Mr. Koenig’s

 activity was the inspiration for Mr. French’s suggestion to Rodney Russell that he

 write grant proposals for purposes similar to Project SHARE and led to the creation

 of Old Stream Conservation. Id. 48:6-25. Mr. French freely admitted that he was

 involved with Mr. Koenig regarding the siting of this culvert work on Haynes

 Timberland land from 2005 through 2009, that Mr. French billed Mr. Koenig for the

 culvert work, and that the culvert work was profitable. Id. 67:4-69:4.

       Based on Mr. Koenig’s testimony, the Court finds that Malcolm French knew

 Steve Koenig before Mr. Koenig testified at trial, knew that Mr. Koenig was involved

 with salmon restoration, had authorized him to perform salmon restoration work on

 culverts on Haynes Timberland land in Township 37, had visited the site of the

 culvert construction, had opened up the Haynes Timberland gates so that Mr. Koenig

 could gain access to the Haynes Timberland land, and had authorized the billing of




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 Project SHARE for the work done by Cold Stream Contracting or Haynes Timberland

 crews.

          The Court concludes that at least Mr. French knew enough about Mr. Koenig

 to make the potential connection between Mr. Koenig and Juror Number 79 that he

 now asserts is grounds for a mistrial.            Furthermore, as Executive Director of a

 recipient of government grants, some public information about Steve Koenig and

 Project SHARE’s activities must have been available publicly or, to make the obverse

 point, there is no evidence in this record that substantial information about Steve

 Koenig was unavailable to all of the Defendants in this case, either by simply asking

 Mr. French, by asking Mr. Koenig, or by performing cursory background research.

          B.    Did Juror Number 79 Falsely Deny that He Knew Steve
                Koenig?

          The transcript of the voir dire confirms that when the Magistrate Judge asked

 him whether he had any positive responses to any of the prior questions, Juror

 Number 79 said that he had none and, when she asked him to review a list of

 witnesses, Juror Number 79 did not say that he knew Steve Koenig. Voir Dire Tr.

 131:16-132:3, 133:4-8.3         As noted earlier, the law distinguishes between an

 intentionally dishonest juror and an honest but mistaken one. Sampson, 724 F.3d at

 164 n.8. Intentional dishonesty “demonstrates bias,” id. at 164; an honest mistake




 3       Juror Number 79 took the place of Juror Number 118, who had been excused. Voir Dire Tr.
 131:8-21. When he did so, the Magistrate Judge asked him whether he had any positive responses to
 the questions previously asked. Id. 131:22-23. He replied, “No, I don’t.” Id. 131:24. The Magistrate
 Judge then told Juror Number 79 that Juror Number 118 had left her list of witnesses and that he
 could “pick that up and leaf through it.” Id. 131:25-132:1. She said: “If you missed a name, you might
 hit upon something.” Id. 132:1-2. Juror Number 79 did not respond further.

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 “will require a more flagrant showing of juror bias.” Id. at 164 n.8. The first question

 the Court must answer is whether there is evidence of either in the case of Juror

 Number 79.

              1.     The Court’s Voir Dire

       To assess whether Juror Number 79 failed to make a truthful response to the

 Court’s questions, the Court examines exactly what was asked. The Magistrate

 Judge presided over the voir dire process. At the outset, she stressed the reason for

 the voir dire and the need to respond truthfully:

       Everyone in this country under our [C]onstitution is entitled to a jury
       trial by a fair and impartial jury of 12 individuals. This morning’s
       exercise is our attempt to obtain that fair and impartial jury, and that’s
       the reason for all these questions, and that’s why it’s so imperative that
       you answer truthfully and honestly to all these questions and that we
       ascertain if there’s any reason why you personally couldn’t be a juror in
       the case.

 Voir Dire Tr. 4:4-11.     After questioning the potential jurors about their prior

 knowledge of the case, the attorneys and the parties, she turned to the witnesses and

 had the Deputy Clerk pass out witness lists to the potential jurors. Id. 89:15-16. She

 instructed the potential jurors:

       I have very extensive lists of people who are potential witnesses in this
       case. Now, you were told it was a lengthy trial. Obviously, there are
       many witnesses. Just because a name appears on this list does not mean
       the person will necessarily testify in this case. They may not be here
       personally to testify. They may be the subject of another witness’
       testimony, but involved in the case.

       So what I thought we would do is go over this list name by name, and
       I’ll do it in groups of five, but I thought it’d be easier for you if you could
       follow along with the written - - seeing the name in writing and see if
       anybody knows any of these people.



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 Id. 89:19-90:5 (emphasis added). The Magistrate Judge began to read the list of

 witnesses and after reading groups of names, she asked: “[D]oes anyone know any of

 those people?” Id. 90:6-14.

        The list of witnesses supplied to the potential jurors were not marked as

 exhibits. However, comparing the order of the witnesses with the parties’ witness

 lists, even though the Magistrate Judge did not identify the witnesses as Government

 witnesses, she began by reading the names on the Government’s witness list.

 Compare Gov’t’s Witness List at 1-4, with Voir Dire Tr. 90:6-98:15.                    Once she

 completed the Government’s witness list, she turned to Defendant Russell’s witness

 list, which she did not identify as being Mr. Russell’s list.4 Compare Russell Witness

 List at 1-4, with Voir Dire Tr. 98:15-105:24. Steve Koenig’s name appeared on Mr.

 Russell’s list, and the Magistrate Judge announced Mr. Koenig’s name to the

 potential jurors. Voir Dire Tr. 103:23-104:2.

        For many, but not all of the names on the Government’s list, the Government

 supplied some basic information about the witnesses. For example, if the witness

 was a member of law enforcement, the list noted that fact and the Magistrate Judge

 read it to the potential jurors: “And we’ll start: Bob Carter, who’s with the Maine

 Warden Service; Alan Curtis, who’s with the Maine Warden Service . . . .” Id. 90:6-8.

 On the Government’s list, if the person was affiliated with a business, the list named

 the business and the Magistrate Judge read this fact to the potential jurors: “Jerry


 4       This supposition is confirmed by an interchange among the Magistrate Judge, Assistant
 United States Attorney Casey and Attorneys Steven Peterson and William Maddox, who represented
 Mr. Russell. When one of the jurors asked about Paul Cook, who was on Mr. Russell’s list, Mr. Casey
 deferred to Attorneys Peterson and Maddox. Voir Dire Tr. 104:3-16.

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 Davis with the Griffin Greenhouse Supply Company; and James Hartzell with

 Premiere Horticulture.”        Id. 91:10-11.      For other witnesses, however, the list

 contained only the person’s name: “Scott Lufkin; Anthony Giordano; Jay Haynes;

 Ginger Maxwell . . . .” Id. 98:11-12.

        Mr. Russell’s witness list contained only the potential witness’s name and no

 further information. Russell Witness List at 1-4.5 The Magistrate Judge read the

 following group of potential witnesses from Mr. Russell’s witness list: “Kelley

 Boothby; Mike Russell; Eric Foster; Zach Richardson; Steve Koenig; Bruce Saunders;

 Alysa Roberts; Annette Lease; George Hartmann; Paul Cook; Lindon Brown; and

 Jennifer Robertson.” Voir Dire Tr. 103:23-104:1. She then asked: “Anybody know

 any of them?” Id. 104:1-2. Occasionally, she would ask: does the name “ring any

 bell?” See, e.g., id. 90:18-19.

        Now and again, one of the jurors would indicate that that he or she might know

 one of the witnesses and a colloquy between the Magistrate Judge and the potential

 juror would take place in open court in which the Magistrate Judge would inquire

 how the potential juror knew the potential witness. See, e.g., id. 93:12-13. Once that

 issue was explored, the Magistrate Judge would ask:

        Do you feel if he were a witness, that would affect your ability to be an
        impartial juror?

 Id. 94:1-2.

                2.     The Defendants’ Evidence that Juror Number 79 Knew
                       Steve Koenig before Trial


 5       Likewise, Mr. French’s witness list included the names of ten witnesses, seven of whom were
 only identified by name, including Mr. Koenig, and no further information. French Witness List.

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       In their motion, the Defendants assert that “there is considerable evidence to

 suggest that [Juror Number 79] in fact knew Steve Koenig . . ., a key witness, and

 that the basis for this relationship with Koenig would influence his decision in the

 trial.” French Mot. at 3.

       The first question is whether there is any direct evidence that Juror Number

 79 knew Steve Koenig. In their motion, the Defendants assert:

       Upon information and belief from evidence only discovered after the
       verdict in this case, [Juror Number 79] knew Koenig and had directly
       communicated with Koenig in the past, despite [Juror Number 79]’s
       claim at jury selection that he did not know Koenig. In particular,
       Koenig had spoken with [Juror Number 79] directly in the past for the
       specific purpose of consulting with him about some of the very projects
       undertaken for fisheries habitat restoration on French and Haynes
       Timberland’s lands.

 Id. at 5 (emphasis in original). The Defendants initially cited no authority for their

 “information and belief” that Juror Number 79 and Mr. Koenig knew each other

 before jury selection and that Mr. Koenig had spoken with Juror Number 79 about

 the fisheries restoration projects that Mr. Koenig was undertaking in Township 37.

 Id.

                     a.      The Morgan Affidavit of the July 14, 2014 Telephone
                             Conversation between Malcolm French and Steve
                             Koenig

       After the Government pointed out the lack of substantiation of the Defendants’

 allegations, Gov’t’s Opp’n at 9-10, in their reply, the Defendants attached an affidavit

 from Attorney Matthew D. Morgan, one of Mr. French’s defense counsel. French

 Reply Attach. 1 Aff. of Matthew D. Morgan, Esq. (Morgan Aff.). In his affidavit,

 Attorney Morgan describes a conversation he had with Malcolm French after the

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 verdict in which Mr. French told Attorney Morgan that after the verdict, Mr. French

 had spoken to Mr. Koenig “about on-going land management issues on his lands.”6

 Id. ¶ 5. Attorney Morgan says that Mr. French told him that Mr. French asked Mr.

 Koenig whether Mr. Koenig knew Juror Number 79, referring to Juror Number 79 by

 name and without mentioning that he served as a juror. Id. ¶ 6. Attorney Morgan

 says that Mr. French told him that Mr. Koenig responded, “I’ve talked to him. I don’t

 remember if I’ve ever met him.” Id. ¶ 7. Attorney Morgan further said that Mr.

 French told him that Mr. Koenig explained that “his talks with Juror #79 involved

 work that was performed on French’s property.” Id. ¶ 8.

                        b.      The Agent Richards October 8, 2014 Interview of
                                Steve Koenig

        On October 8, 2014, after the Defendants’ motion but before their reply, the

 Government asked Special Agent Jonathan Richards to interview Mr. Koenig and

 Special Agent Richards did so twice over the telephone. Gov’t’s Opp’n Attach. 2

 Investigative Report. According to the report, Mr. Koenig said:

        (1) That he had “no clue” who any of the jurors were at the time of trial;

        (2) That in 2005 or 2006, there “was contact with [Juror Number 79]

            regarding a piece of equipment known as [a] ‘grip hoist’ which is used

            for pulling heavy objects”;




 6       Attorney Morgan says that the French-Koenig conversation was recorded over the jail phone
 and counsel for Mr. French requested and obtained a copy of the recording from the jail. Morgan Aff.
 ¶ 5. The Defendants, however, elected not to supply the Court with either a copy of the recording or a
 transcript of the recording. That said, the Government provided the Court with a partial transcript of
 the French-Koenig conversation at the March 17, 2015 hearing. Gov’t’s Ex. 8.

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        (3) That he could not recall if he learned about Juror Number 79 from

           Scott Craig, a United States Fish and Wildlife biologist, or another

           intermediary, but that he knew the juror’s name as a biologist for the

           federal government;

        (4) That he and Juror Number 79 had no conversations about Township

           37 or Mr. French;

        (5) That Project SHARE is leading the state of Maine in this type of work

           and that Mr. Koenig gets asked questions about the work from a lot

           of people;

        (6) That the conversation about the use of the “grip hoist” was with Scott

           Craig, not Juror Number 79 directly;

        (7) That Mr. Koenig did not recognize Juror Number 79 at the trial, was

           not sure if they had ever met, had never had coffee together, and only

           knew each other’s names; and

        (8) That Mr. Koenig was still not sure whether he and Juror Number 79

           had ever met but if they had met, it would have been only in a

           meeting setting.

 Id. at 1-3.

        Finally, around September 2014, Juror Number 79 contacted Mr. Koenig to

 ask if he could use him as a resource for restoration projects, and in September and

 October 2014, Juror Number 79 wrote him two or three emails about a potential tour




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 of work that Project SHARE was doing and the use of “open bottom arches.” Id. at 2-

 3.

                     c.    Steve Koenig’s March 17, 2015 Testimony

       During the hearing on two post-trial motions, the Defendants called Mr.

 Koenig as a witness. Mr. Koenig testified that he has been educated as an aquatic

 ecologist and that he was hired as Executive Director of Project SHARE in 2001. Tr.

 of Proceedings 11:21-24 (ECF No. 498) (Oral Argument Tr.).         After he became

 Executive Director, he was in touch with Malcolm French about doing work in

 Township 37 and in part of Township 31 on land that either Mr. French or his

 company owned. Id. 12:11-17. The work involved what ecologists call “ecological road

 stream crossings,” which ease passage for native brook trout and Atlantic salmon. Id.

 12:18-24. Mr. Koenig explained that the work typically involved the removal of old

 culverts, which present passage issues for these fish, and replaced them with newly-

 designed passageways; the work also involved the removal of remnant dams, and the

 addition of what ecologists call “woody debris.” Id. 13:3-10.

       As part of his work, Mr. Koenig said that he occasionally is in touch with

 federal employees, including those at the U.S. Fish and Wildlife Service, NOAA, and

 Natural Resource Conservation Service. Id. 13:11-19. Mr. Koenig confirmed that

 “somewhere around 2008,” Project SHARE was “dealing with the remnant dam

 removals and the large woody debris additions,” and it was “looking for a piece of

 equipment” to assist the work. Id. 13:24-14:3. Mr. Koenig said that through one of

 his contacts at U.S. Fish and Wildlife, Project SHARE learned that Acadia National



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 Park and the Appalachian Mountain Club had used a piece of equipment to do similar

 work. Id. 14:3-7. Accordingly, Project SHARE “made a contact” to try and identify

 the piece of equipment and where it could get it (i.e., a grip hoist). Id. 14:7-9.

       Mr. Koenig was asked whether in the course of doing that, he had contacted

 Juror Number 79 by phone; he replied:

       I don’t know when the first time that I personally made contact, so it’s
       hard to remember what contacts were made via a U.S. Fish and Wildlife
       Service employee versus when I eventually made a direct contact. I
       actually don’t know.

 Id. 14:12-17. Mr. Koenig acknowledged that he had direct contact with Juror Number

 79 “at some point.” Id. 14:18-21. But when asked again whether he had been in touch

 with Juror Number 79, Mr. Koenig equivocated because he was not certain whether

 he had spoken with Juror Number 79 or whether his contact at U.S. Fish and Wildlife

 had spoken with Juror Number 79 and relayed the information about the grip hoist

 back to Mr. Koenig:

       And, again, it’s hard - - it’s hard for me to remember what I did versus
       what went through a particular fish and wildlife service employee.

 Id. 14:22-15:3.

       On direct examination, Mr. Koenig was asked about both his direct and his

 indirect contacts with Juror Number 79:

       Now, do you have any estimate as to - - prior to January of 2014 when
       you would have either had direct contact - - telephone or face-to-face, I
       guess - - or indirect contact through this other fish and wildlife service
       employee with Juror [Number] 79?

 Id. 16:15-19. Responding to both direct and indirect contacts, Mr. Koenig said:




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       Again, I don’t know how many times the U.S. Fish and Wildlife Service
       person would have chatted, but it probably could have been in the range
       of two or three times a year kind of thing. And then eventually when
       they actually did a number of surveys associated with Acadia, there
       would have - - they would have had a lot more contact.

 Id. 16:22-17:2. To place a date on the grip hoist contact, Mr. Koenig said that he

 looked up the date that Project SHARE purchased a grip hoist and found that it was

 April 2008 and he concluded that “sometime preceding that would have been the first

 contact.” Id. 17:6-8.

       On questioning by the prosecutor, Mr. Koenig said that he did not think that

 he had ever actually met Juror Number 79 face to face prior to trial. Id. 18:5-10. He

 said it was possible they had met each other at a meeting but he could not recall. Id.

 18:8-10. Mr. Koenig testified that he did not think he and Juror Number 79 had ever

 been “formally introduced” to each other. Id. 18:11-14. In fact, he did not think that

 he and Juror Number 79 had ever had a cup of coffee together. Id. 18:15-21.

       Mr. Koenig stated that the first time he had ever heard Juror Number 79’s

 name was probably in 2008 when Project SHARE purchased the grip hoist. Id. 20:5-

 11. He agreed that he had been in discussions with someone from U.S. Fish and

 Wildlife, who knew Juror Number 79. Id. 20:12-16. He was asked whether he had

 had direct contact with Juror Number 79 as opposed to indirect contact through the

 U.S. Fish and Wildlife employee and he replied:

       There’s one incidence that I may have that I can’t recall if the
       communication was through the fish and wildlife service employee or it
       may have been me directly with him. There’s one - - one incidence in
       trying to parse this out there could have been a direct phone call with
       me. . . . But I can’t say for sure.



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 Id. 21:4-13. Mr. Koenig did not recall any emails or other correspondence with Juror

 Number 79 about the grip hoist between 2008 and January 2014, but he could not

 say for sure. Id. 21:14-17. Mr. Koenig confirmed that when he testified at trial, he

 did not recognize anyone on the jury. Id. 22:1-3.

       Toward the end of his testimony, Mr. Koenig reviewed the Government’s

 Exhibit 8, a partial transcript of his July 14, 2014 phone conversation with Mr.

 French, and agreed that he told Mr. French, “I’ve talked to [Juror Number 79], I don’t

 remember if I’ve ever met him.” Id. 26:16-27:6. Mr. Koenig explained that “there

 was a road crossing that [he] was asked by inland fish and wildlife to help manage,

 and there likely was a conversation with regard to that because it abutted Acadia and

 there were some things downstream.” Id. 27:10-13.

       Upon further questioning by the Court, Mr. Koenig explained that in “2013ish”

 he “probably” talked to Juror Number 79 about “a road crossing.” Id. 29:17-30:5. Mr.

 Koenig elaborated that “they were going to have a project, and there was a

 downstream - - something that’s affecting the . . . site, so we probably talked probably

 about five or ten minutes about it. But, again, I can’t say for sure duration.” Id.

 29:18-21.

                     d.     Defense Inferences

       Apart from this direct evidence of Juror Number 79’s pretrial knowledge of Mr.

 Koenig, the Defendants rest their case on a string of inferences:

       (1)    Juror Number 79 was “a federal biologist with a focus on fisheries

              and fish passages,” French Mot. at 4;



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       (2)   Steve Koenig worked at Project SHARE in Township 37 on

             culverts and streambed restoration and the target species of

             Project SHARE’s work were Atlantic salmon and Eastern Brook

             Trout, id.;

       (3)   Project SHARE was “the only organization in all of New England

             that performed this kind of salmon restoration work with a

             ‘Section 10’ federal permit,” id.;

       (4)   Juror Number 79 had “an identical interest with Koenig in

             protecting Maine fish and restoring Maine fish habitat,

             particularly the Eastern Brook Trout,” id. (emphasis in original);

       (5)   Juror Number 79 is “the author of publications concerning Maine

             fish habitat studies, a repeatedly cited source of authority for such

             articles, and has been a speaker at conferences discussing these

             same issues,” id. at 4-5;

       (6)   Juror Number 79 has worked with Scott Craig of the United

             States Fish and Wildlife Service’s Maine Fisheries Resource

             Office, id. at 5;

       (7)   Scott Craig has worked with Steve Koenig on salmon restoration

             projects in Township 37, id.;

       (8)   Scott Craig and Steve Koenig were listed as authors on reports

             that named Malcolm French as a cooperating landlord, id.;




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        (9)    Scott Craig and Steve Koenig appeared as part of a podcast in

               which Mr. French’s son discussed the improvements to Township

               37 from Project SHARE, id.; and

        (10)   Juror Number 79 has also worked with the United States Fish

               and Wildlife Service, the Maine Department of Inland Fisheries

               and Wildlife, and the United States Forest Service in his efforts

               to restore Maine fisheries habitat. Id.

               3.     The Defense Obligation to Obtain Information That
                      Objectively Should Have Been Obtained at Voir Dire

        Again, the Court asks the question that the Supreme Court posed in

 McDonough: whether “counsel lacked an item of information which objectively he

 should have obtained from a juror on voir dire examination.” 464 U.S. at 555.

        Here, trial counsel chose to present the Magistrate Judge and the potential

 jurors with a string of names to be read to the jury venire. The name, “Steve Koenig,”

 unanchored by any further description, is someone who could have lived and worked

 anywhere. The Defendants have not claimed they did not know more about Mr.

 Koenig than just his name and the defense has admitted that their case would be

 much stronger if they had been more specific at voir dire, informing the prospective

 jurors where Mr. Koenig lived or, more significantly, his affiliation with Project

 SHARE, Salmon Habitat and River Enhancement.7 If the Defendants had been more

 specific in the information provided to the jury venire, they would have at least



 7       Attorney McKee conceded this point during oral argument. See Oral Argument Tr. 52:7-11
 (“Absolutely. More identifying information, I would definitely be in a better position”).

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 complied with McDonough. But they elected to run just a name by the jury venire

 and they now seek to blame the juror for their lack of specificity. Furthermore, if

 defense counsel had any compunctions about whether Juror Number 79 knew Mr.

 Koenig, they could have brought this fact to the attention of the Magistrate Judge

 and asked her to bring Juror Number 79 to sidebar for questioning.

       The Court notes that the defense failure to insist on greater specificity is more

 confounding because of what they knew or should have known about Juror Number

 79. If they thought that Juror Number 79 might know Mr. Koenig, it is curious that

 they presented so little information to him about Mr. Koenig and failed to seek further

 inquiry. Under McDonough, the law imposes an obligation on counsel to obtain the

 information that objectively they should have obtained from Juror Number 79 during

 voir dire. The policy behind this obligation seems apparent. Defense counsel should

 not be encouraged to give potential jurors the barest of clues about prospective

 witnesses and then, disappointed by the verdict, be allowed to demand a new trial

 because the jurors did not pick up on their vague references. The Court concludes

 that by running just a name by the jury in these circumstances, the Defendants failed

 to meet their own obligations under McDonough.

              4.     Juror Number 79’s Indirect Knowledge of Steve Koenig

       The Court rejects the Defendants’ claim of Juror Number 79’s inferential

 knowledge of Mr. Koenig. It requires a giant leap to conclude that by virtue of the

 fact that Mr. Koenig and Juror Number 79 shared some professional interests and

 that they both knew a man named Scott Craig, they must have known each other.



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                5.      Juror Number 79’s Direct Knowledge of Steve Koenig

        The evidence establishes a few clear facts about the pretrial relationship

 between Steve Koenig and Juror Number 79. First, there is no proof that they had

 ever actually formally met. Mr. Koenig did not recognize Juror Number 79 during

 the trial even though Juror Number 79 was the foreman of the jury and would have

 been closest within the jury to Mr. Koenig when he testified. Indeed, Mr. Koenig said

 that he was not sure if they had ever met and if they had, it would have been at a

 meeting only. He denied that he ever had coffee with Juror Number 79 and said that

 they would have only known each other’s names.

                        a.       Direct Contact From 2008 to 2014 About the Grip
                                 Hoist

        Having had the opportunity to evaluate Mr. Koenig as a witness, the Court

 does not find that Mr. Koenig had any direct contact with Juror Number 79 from 2008

 to 2014 about the grip hoist. Mr. Koenig’s testimony on this point was muddled by

 defense counsel’s question, which included both direct and indirect contacts.8 The

 issue is not whether Mr. Koenig knew someone who contacted Juror Number 79 for

 information. Such indirect contacts would not be grounds for imputing bias on the

 part of Juror Number 79. Indeed, there is no evidence that when the U.S. Fish and

 Wildlife Service employee approached Juror Number 79 about the grip hoist that he



 8      Attorney McKee’s question was:

        Q. Now, do you have any estimate as to - - prior to January of 2014 when you would
        have either had direct contact - - telephone or face-to-face, I guess - - or indirect contact
        through this other fish and wildlife service employee with Juror 79?

 Oral Argument Tr. 16:15-19.

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 ever even mentioned Mr. Koenig’s name. The Court accepts Mr. Koenig’s testimony

 that he does not actually know whether he had any direct contact with Juror Number

 79 regarding the grip hoist equipment issue and Mr. Koenig’s lack of memory is

 insufficient evidence to require further investigation on this issue.

                     b.     Direct Contact in 2013

       During Mr. Koenig’s March 17, 2015 testimony, however, he recalled a new

 incident, which took place in “2013ish” in which he had direct telephone contact with

 Juror Number 79. The Court accepts Mr. Koenig’s recollection that there was a town

 site for which he had acted as project manager and that he had spoken to Juror

 Number 79 about that project around 2013. Mr. Koenig recalled that the project

 abutted Acadia National Park and there was something downstream that affected

 the Acadia National Park site. The Court accepts Mr. Koenig’s testimony that the

 conversation between Juror Number 79 and him lasted about five to ten minutes.

 The Court finds that this was the only demonstrated direct contact between Steve

 Koenig and Juror Number 79 before trial.

                     c.     Steve “Kane-nig” or “Co-nig”

       When the defense called Steve Koenig to testify on March 17, 2015, in

 accordance with standard procedure as he took the witness stand, he stated his name

 and spelled his last name for the record. Oral Argument Tr. 9:21-23. Notably, Mr.

 Koenig pronounced his last name “Kane-nig,” a variant of a more common

 pronunciation, “Co-nig.” Hearing Mr. Koenig’s pronunciation, the Court inquired of




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 counsel whether they recalled how the Magistrate Judge read his name off the

 witness list—“Kane-nig” or “Co-nig.” None could recall. Id. 48:2-7, 79:18-23.

       Following the hearing, the Court conducted its own research and asked the

 court reporter whether the audio recording for the voir dire exists, and after the court

 reporter confirmed that it did, the Court listened to the audio recording of this portion

 of the voir dire. The Court distinctively heard the Magistrate Judge read the name

 “Koenig” as “Co-nig,” not “Kane-nig.” Order on Audio of Voir Dire at 1 (ECF No. 490).

 The Court issued an order and gave the parties seven days to listen to the audio

 recording and to object to the Court’s conclusion. Id. The Court informed counsel

 that otherwise, the Court would consider the Magistrate Judge’s pronunciation of

 Steve Koenig’s name during voir dire in this Order. Id. None objected.

       Having listened to the audio recording of the voir dire, the Court finds that the

 Magistrate Judge pronounced Steve Koenig’s name as “Co-nig,” not “Kane-nig,”

 during jury voir dire. During voir dire, Juror Number 79 would have read the name

 on the witness list, Steve Koenig, and would have heard the Magistrate Judge

 pronounce the last name as “Co-nig.”

       The Court views this as additional evidence that Juror Number 79’s failure to

 disclose his knowledge of Mr. Koenig was neither an honest mistake nor a dishonest

 response.   See Section IV.B.6, infra.    Mr. Koenig said that he had never to his

 knowledge met Juror Number 79 and may have spoken to him once on the telephone

 in 2013. As Mr. Koenig uses a variant pronunciation of his last name, the Court finds

 when Juror Number 79 spoke to Mr. Koenig in 2013, Juror Number 79 would have



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 known his last name as “Kane-nig.” Thus, when Juror Number 79 read “Koenig” and

 heard “Co-nig,” he would have had less reason to connect that name with a Steve

 “Kane-nig” with whom he had spoken once on the telephone.

             6.     Honest Mistake, Dishonest Response or Neither

       In the facts presented by the parties, the Court easily concludes that there is

 no convincing evidence that Juror Number 79 deliberately lied or even made an

 honest mistake about knowing Steve Koenig. The Court has found that there is no

 probative evidence that Mr. Koenig spoke directly to Juror Number 79 regarding the

 grip hoist. The Court has found that Juror Number 79 spoke once on the telephone

 to Mr. Koenig around 2013 when Mr. Koenig contacted him to discuss a project on

 property that abutted Acadia National Park and that this conversation lasted about

 five to ten minutes. The Court has found that there is no evidence that Mr. Koenig

 and Juror Number 79 had ever met, had ever been introduced to each other, or would

 have recognized each other. Especially given the difference in pronunciation of Mr.

 Koenig’s last name, there is simply no evidence that when asked at voir dire, Juror

 Number 79 made the connection between the naked name, Steve Koenig, and a man

 with whom he had spoken once around 2013 for five to ten minutes.

       Even if Juror Number 79 somehow recognized the name, Steve Koenig, that

 does not mean that Juror Number 79 was required to give an affirmative response.

 The Magistrate Judge asked the jury venire whether they knew the potential

 witnesses, not whether they knew of them.




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        What Juror Number 79 knew by the time he was seated in the forty-person box

 is that the Magistrate Judge was interested in whether the jurors’ knowledge of a

 potential witness was casual or as a “close personal friend.” Voir Dire Tr. 98:22-23.

 She had repeatedly asked whether the potential juror’s knowledge would affect the

 juror’s ability to be an impartial juror. See, e.g., id. 99:8-9. Juror Number 79 had

 heard the Magistrate Judge describe the standard by which she was evaluating the

 potential for bias on the part of the jurors. If he thought that Steve Koenig was the

 same Steve Koenig that he had talked to on one occasion (and this is a supposition),

 Juror Number 79 may well and properly have concluded that his one contact was so

 casual that he did not “know” Mr. Koenig, a man he had never actually met, within a

 reasonable interpretation of the Magistrate Judge’s inquiry.9                   On its face, this

 situation is distinct from cases where potential jurors supply deliberately false

 answers on the assumption that they know better than the law whether they are

 biased.




 9        These same points apply to Attorney Sharon’s contention during his March 17, 2015 argument:
 that even if Juror Number 79 had not recognized Mr. Koenig’s name during voir dire, he must have
 recognized it when Mr. Koenig actually took the stand and testified. If so, Attorney Sharon asserted
 that Juror Number 79 was obligated during trial to bring this information to the Court’s and parties’
 attention, and that the Court should question Juror Number 79 to clarify the state of his knowledge
 during trial. Oral Argument Tr. 82:11-83:8.
          First, whether Juror Number 79 recognized Mr. Koenig as the same person with whom he had
 spoken for five to ten minutes in 2013 is speculative, and the Court is not confident that questioning
 Juror Number 79 about what he remembers regarding what he knew during trial in January 2014 will
 clarify, not confuse the issue. Second, even if Juror Number 79 had realized that Mr. Koenig was the
 same person with whom he had had a short telephone conversation, Juror Number 79 could well have
 concluded that this conversation did not make Mr. Koenig a close personal friend and, in any event,
 would not have affected Juror Number 79’s ability to be fair and impartial. Finally, if Juror Number
 79 had brought this short telephone conversation to the Court’s attention during trial, it would not
 have been a viable basis for excusing Juror Number 79 for cause.

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        Nor should the Court ignore the context of jury selection. Having completed

 juror questionnaires under penalty of perjury, having been screened by security,

 having entered an impressive federal courtroom, having been sworn to tell the truth

 in a court of law, having been presented with instructions about the imperative to tell

 the truth so that the parties receive a fair and impartial trial, in the presence of a

 federal judge, two federal prosecutors, and in this case, five defense lawyers, the

 potential jurors, including Juror Number 79, must have known that this was very

 serious business. As the Second Circuit observed,

        Knowingly lying during the voir dire violated, inter alia, 18 U.S.C. §
        1621, and subjected the juror to possible criminal contempt pursuant to
        18 U.S.C. § 401, as well as to possible substantial restitution claims by
        the government. Cf. United States v. Hand, 863 F.2d 1100 (3d Cir.
        1988). It exhibited a personal interest in this particular case that was
        so powerful as to cause the juror to commit a serious crime.

 Colombo, 869 F.2d at 151. This does not mean that potential jurors will never

 willfully lie or make honest mistakes in responding to voir dire inquiries.10 But the

 incentive for potential jurors to be scrupulously honest is apparent.

        In short, the Court does not find that the facts in this case establish that Juror

 Number 79 “failed to answer honestly a material voir dire question.” Sampson, 724

 F.3d at 164-65.

        C.      Valid Basis for Challenging for Cause




 10      The Colombo case is an example. In Colombo, a potential juror lied about whether her brother-
 in-law was a government lawyer and admitted to another juror that she did not mention this fact
 during voir dire because she wanted to sit on the case. 869 F.2d at 150. The juror explained her
 motivation by saying that she lived near one of the places where criminals had gathered to discuss
 their robbery plans. Id.

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       The First Circuit also “requires a finding that a truthful response to the voir

 dire question ‘would have provided a valid basis for a challenge for cause.’” Id. at 165

 (quoting McDonough, 464 U.S. at 556).         Here, the Court turns to the curious

 circumstance under which Mr. Koenig was called to testify at trial and the substance

 of his testimony.

              1.     A Defense Witness Called by the Prosecution

       As the Court has noted, Mr. Koenig’s name did not appear on the Government’s

 witness list, but on Defendant Russell’s and Defendant French’s lists.         Yet, the

 Government called him as a witness during its case in chief. The parties have not

 explained how this came to happen. However, from the Court’s perspective, Mr.

 Koenig’s credibility was never attacked by any of the lawyers, both prosecution and

 defense, and his testimony was at least as helpful, if not more so, to the defense as to

 the prosecution.

              2.     A Needle in the Haystack

       To place Mr. Koenig’s testimony in context, the Government presented an

 overwhelming case that someone was growing marijuana in the middle of Township

 37. The evidence of a significant grow operation was so irrefutable that none of the

 defense lawyers attempted to disprove its existence. See Oral Argument Tr. 55:23-

 56:4 (“THE COURT: My thought about the defense in this case was as follows: No

 one on the defense side, to my knowledge, ever denied that there was a significant

 marijuana grow operation in the middle of Township 37. MR. MCKEE: That’s

 correct, Your Honor”). Instead, the defense challenged the Government to prove that



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 their respective clients knew about or were involved in the grow operation. Attorney

 McKee’s opening statement eloquently and succinctly captured the essence of the

 defense. He told the jury that his client owned about 80,000 acres of land and that

 the marijuana grow operation consisted of perhaps ten acres.           Partial Tr. of

 Proceedings 2:13-17 (ECF No. 481). In his memorable words, simply because his

 client owned the haystack did not mean he was responsible for the needle. Id. 2:18-

 21, 11:12-19.

       One of the key points the defense attorneys made repeatedly and effectively is

 that if the Defendants had operated a ten-acre marijuana grow operation in Township

 37, they would have fenced it off, kept it hidden, and not allowed strangers to wander

 about the property. Thus, for example, Mr. French called as a witness a man named

 Francis Janusz, who ran a bear hunting operation, and who was given express

 permission by Mr. French to go anywhere on Township 37 without restriction. Partial

 Tr. of Proceedings 4:15-22, 6:21-24, 9:20-25, 10:6-11:7 (ECF No. 480). In short, the

 Defendants contended that if they had been doing something illegal on Mr. French’s

 private land, they would have tried to keep it a secret.

                 3.   Steve Koenig’s Testimony and the Needle in the Haystack
                      Defense

       Although called by the Government, Mr. Koenig provided significant support

 for the “needle in the haystack” defense and for the defense in general. First, Mr.

 Koenig had no apparent bias as a witness. See Oral Argument Tr. 59:6-12 (“THE

 COURT: And unlike Mr. McTague, there was never an issue about [Mr. Koenig’s]

 credibility. MR. MCKEE: Correct, nor - - correct, nor was there today, I think, in

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 terms of him providing information to the court. Nobody’s attacking him as being on

 one side or the other. He’s come before us and provided the information that he had”).

 As Executive Director of Project SHARE, Mr. Koenig presented his testimony in an

 even-handed and factual way. None of the attorneys attempted to discredit him.

        Second, he was clearly appreciative of Mr. French as the new owner of

 Township 37 for his willingness to allow Project SHARE on Haynes Timberland

 property. In fact, he testified that “it’s a privilege for me to be able to work on private

 land.” Koenig Trial Test. 8:19-23.

        Third, Mr. Koenig confirmed that Mr. French had given Project SHARE

 permission to enter onto Township 37 and to oversee significant construction projects

 involving the use of heavy excavating equipment over the course of a number of years,

 including much of the time that the Government alleged that the Defendants were

 involved in growing marijuana in Township 37. Id. 8:19-16:5.

        It is true that not all of Mr. Koenig’s testimony was favorable to the

 Defendants; Mr. Koenig linked Cold Stream Contracting to Mr. French and the

 Government had argued that Cold Stream Contracting was the entity that had made

 purchases of materials consistent with a marijuana grow. Id. 16:13-24. But this

 testimony was grounded in documents and never contested. Mr. Koenig also said

 that Project SHARE never ordered such items as Promix, Rabbit Gard, and

 camouflage clothing and tarps, id. 29:4-30:21, which the Government elsewhere

 contended Mr. French or Mr. Russell had ordered and were consistent with a

 marijuana grow operation.



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        But on cross-examination by Attorney McKee, Mr. Koenig admitted that Mr.

 French had never told him that there were areas that he could not go, that whenever

 he had needed access through a gate, Mr. French had allowed him through, and that

 in 2008 and 2009, he had been “around and about” Township 37 to oversee the

 placements of stream culverts. Id. 39:7-42:20. On further cross-examination by

 Attorney Maddox on behalf of Rodney Russell, Mr. Koenig expanded upon the

 significant scope of the culvert projects, generating noise, the presence of high school

 and college interns, and extensive permitting by multiple state and federal agencies.

 Id. 43:1-54:2. Attorney Silverstein asked no questions on behalf of Mr. Chase. Id.

 54:4-5. Attorney Marjerison brought out on behalf of Haynes Timberland, Inc. that

 Mr. Koenig had given tours of the culvert projects and invited federal agencies and

 congressional staffers to the sites. Id. 54:23-55:5. Mr. Koenig also confirmed that

 what is known as the Stud Mill Road, a major dirt road, runs through Township 37

 and it is used by commercial logging trucks, hunters, fishermen, and other

 recreational users. Id. 56:22-57:9.

                4.      Summary: Steve Koenig Testimony

        It is difficult to understand the Defendants’ claim that Mr. Koenig was a “key

 witness,” at least for the Government.11 French Mot. at 3. Mr. Koenig had no

 personal knowledge directly relevant to the existence of a marijuana conspiracy. His

 testimony about Project SHARE’s culvert operations was factual, straightforward,


 11      The example the Court posed during oral argument on March 17, 2015 was a records custodian
 or an authenticating witness. Oral Argument Tr. 60:11-14. If it turned out that a juror failed to reveal
 knowing a non-controversial witness, whose sole function at trial was to authenticate documents, it is
 doubtful that a court would conclude that the failure to disclose would justify a new trial.

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 and unchallenged.       From the Court’s perspective, to the extent Mr. Koenig’s

 testimony assisted either side of the case, it dovetailed with the defense theory about

 the needle in the haystack and the improbability of a major marijuana grower

 allowing an independent third party and his invitees unrestricted access to land

 around the grow site. Furthermore, Mr. Koenig painted Mr. French and Haynes

 Timberland, Inc. as good individual and corporate citizens who allowed a

 conservation organization access to their private land for salmon restoration

 purposes.

        The First Circuit has been careful to note that even if a defendant could show

 that a juror had not answered all questions truthfully at voir dire, this does not

 necessarily constitute reversible error. United States v. Huguenin, No. 90-1795, 1991

 U.S. App. LEXIS 32842, at *9 (1st Cir. Dec. 4, 1991). The Huguenin Court quoted

 McDonough:

        [A] party must . . . show that a correct response would have provided a
        valid basis for a challenge for cause. The motives for concealing
        information may vary, but only those reasons that affect a juror’s
        impartiality can truly be said to affect the fairness of a trial.

 Id. (quoting McDonough, 464 U.S. at 556). Here, even assuming arguendo that Juror

 Number 79 should have mentioned that he had spoken with Mr. Koenig, given the

 non-controversial nature of his testimony and the absence of any controversy about

 whether he was being honest and forthright, the Court does not conclude that Juror

 Number 79’s prior knowledge of Mr. Koenig would have affected Juror Number 79’s

 impartiality so as to affect the fairness of this trial.

               5.     Possible Defense Strategy

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        In their motion, the Defendants declare that the proclaimed identity of

 relationship between Mr. Koenig and Juror Number 79 was that they both cared

 about stream restoration and that Juror Number 79 would have been inclined to

 convict the Defendants in order to allow the Government to forfeit Mr. French’s

 Township 37 holdings and preserve salmon and brook trout habitat. French Mot. at

 5-6. As the Court has elsewhere noted, it views this contention with skepticism.

        It is just as logical (or illogical) to infer that the defense was pleased that Juror

 Number 79 was on the jury because he would hear testimony from Mr. Koenig that

 was very favorable to Mr. French, including his willingness to cooperate with Project

 SHARE’s efforts to preserve fish habitat. The defense is not required to reveal their

 trial strategy, even now, and during oral argument on March 17, 2015, Attorney

 McKee denied that it was a conscious defense strategy to slip Juror Number 79 into

 the jury in the hope that he would be favorably disposed to Mr. French.                Oral

 Argument Tr. 66:11-12 (“I simply did not entertain that issue at all”). But if Attorney

 McKee did not even entertain the notion at trial that Juror Number 79 might be

 favorably disposed to Mr. French and Haynes Timberland, Inc. because of their

 cooperation with salmon restoration efforts, there is no reason to entertain his

 belated contention that Juror Number 79 would have been unfavorably disposed to

 Mr. French and Haynes Timberland, Inc. because of an elusive theory of land

 forfeiture.




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         Based on this record, if Juror Number 79 consciously failed to disclose his

 knowledge of Mr. Koenig, there is no telling what his motive for doing so might have

 been.

                6.      For Cause Challenge

         This brings the Court to the penultimate question: whether, if Juror Number

 79 had said that he knew Mr. Koenig, it would have justified a challenge for cause.12

 In Sampson, the First Circuit discussed the standard by which a trial court should

 evaluate a challenge for cause:

         [W]hether a reasonable judge, armed with the information that the
         dishonest juror failed to disclose and the reason behind the juror’s
         dishonesty, would conclude under the totality of the circumstances that
         the juror lacked the capacity and the will to decide the case based on the
         evidence (and that, therefore, a valid basis for excusal for cause existed).

 724 F.3d at 165-66. As previously discussed, the First Circuit has been careful to

 note that even if a defendant could show that a juror had not answered all questions

 truthfully at voir dire, this does not necessarily constitute reversible error.

 Huguenin, 1991 U.S. App. LEXIS 32842, at *9.

         In Sampson, the First Circuit listed a number of factors that may be relevant

 in determining whether a juror “has both the capacity and the will to decide the case

 solely on the evidence.” 724 F.3d at 166. Those factors include (1) “the juror’s

 interpersonal relationships”; (2) “the juror’s ability to separate her emotions from her




 12       The Court reaches this issue despite the fact that it has found that the Defendants have not
 demonstrated that Juror Number 79 was either deliberately dishonest or honestly mistaken in his
 failure to respond. The Court is assuming arguendo in its “for cause” analysis that Juror Number 79
 should have revealed that he “knew” Steve Koenig and made an honest mistake in failing to respond.
 The Court is unconvinced that Juror Number 79 deliberately concealed his knowledge of Mr. Koenig.

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 duties”; (3) “the similarity between the juror’s experiences and important facts

 presented at trial”; (4) “the scope and severity of the juror’s dishonesty”; and (5) “the

 juror’s motive for lying.” Id.

           In Sampson, the First Circuit helpfully cited cases containing examples of each

 factor.     For “the juror’s interpersonal relationships,” the Sampson Court cited

 Colombo, 869 F.2d at 151-52, and United States v. Scott, 854 F.2d 697, 698-700 (5th

 Cir. 1988). In Colombo, a potential juror deliberately refused to reveal that her

 brother-in-law was a government lawyer and admitted to a fellow juror that she had

 done so in order to be seated on a jury involving those who allegedly plotted their

 crimes at a business near her residence. 869 F.2d at 151-52. In Scott, a potential

 juror failed to disclose that his brother was a deputy sheriff in the office that

 performed some of the investigation of the case being tried. 854 F.2d at 698. Here,

 in the circumstances of this case, Juror Number 79’s failure to reveal that he knew

 Steve Koenig does not approach the facts in Colombo or Scott.

           The second factor is when a juror finds it difficult to separate emotions from a

 duty to be objective. The First Circuit cited two cases. See Dennis v. Mitchell, 354

 F.3d 511, 518-19 (6th Cir. 2003); Burton v. Johnson, 948 F.2d 1150, 1158-59 (10th

 Cir. 1991). In Dennis, a death penalty case for murder occurring during a robbery,

 the Sixth Circuit affirmed the denial of a petition for writ of habeas corpus even

 though a female juror failed to disclose that contemporaneous with jury selection, she

 was soon to sign a criminal complaint as the victim in a case involving gross sexual

 imposition. 354 F.3d at 518-19. In Burton, the Tenth Circuit affirmed the granting



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 of a new trial where the defendant had been charged with shooting and killing her

 husband and the defense was the “battered woman’s syndrome.” 948 F.2d at 1151.

 The juror failed to reveal that she and her children had been and at the time of the

 trial were still victims of abuse. Id. at 1154. There is no evidence and no argument

 that Juror Number 79 fits into this category.

       The third factor is the similarity between the juror’s experiences and important

 facts presented at trial. In Sampson, the First Circuit cited two cases as examples.

 In one, United States v. Torres, 128 F.3d 38 (2d Cir. 1997), the defendants were on

 trial for money laundering and structuring deposits to avoid the $10,000 reporting

 requirements and the potential juror admitted that she had engaged in structuring

 deposits to avoid the $10,000 reporting requirement. Id. at 41-42. The First Circuit

 also cited Burton on this point as well. By contrast, the similarity between Juror

 Number 79 and Steven Koenig—fish restoration—was unrelated to the central issue

 in this case—a marijuana grow conspiracy.

       The fourth factor is the scope and severity of the juror’s dishonesty. Again, the

 First Circuit cited two cases. In the first, Dyer v. Calderon, 151 F.3d 970 (9th Cir.

 1998), a death penalty case involving hostage-taking and murder, a juror denied that

 any of her relatives or close friends had ever been the victim of any crime, and denied

 that any of her relatives or close friends had ever been accused of crimes other than

 traffic offenses. Id. at 972. In fact, her brother had been pistol-whipped and shot in

 the back of the head, and it turned out that the juror and her siblings had been

 kidnapped by her father when she was a child, that she had been attacked at



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 knifepoint by her cousin, that she was the victim of countless burglaries, that her

 husband had been arrested on rape charges just a month before trial, and numerous

 other members of her family had been in serious trouble with the law. Id. at 975,

 979-81 (describing her first denial as “just the tip of Pinocchio’s nose”). The second

 case, Scott, is the case where the potential juror failed to reveal his brother’s

 employment with a law enforcement agency investigating the case. 854 F.2d at 697-

 98. Here, Juror Number 79’s failure to reveal his contact with Steve Koenig is far

 less significant and troubling than the juror denials in Dyer and Scott.

       The final factor is the juror’s motivation for lying. The First Circuit cited

 McDonough, and Skaggs v. Otis Elevator Co., 164 F.3d 511 (10th Cir. 1998). In

 McDonough, the Supreme Court addressed a “mistaken, though honest response to a

 question.” 464 U.S. at 555. In Skaggs, a civil action, a voir dire question should have

 elicited the potential juror’s history of lawsuits, but the juror failed to mention them.

 164 F.3d at 514. The Tenth Circuit observed that the evidence failed to establish that

 the juror’s non-disclosure was motivated by a desire to obtain a seat on the jury and

 that he may have been motivated by personal embarrassment about his personal

 financial difficulties and subsequent litigation. Id. at 518.

       Here, the Defendants spin a tale about why Juror Number 79 might have failed

 to admit that he knew Mr. Koenig. French Mot. at 5-6. They claim that Juror Number

 79 “for literally years, has crusaded for the cause of improving fish habitat and

 passageways in the state of Maine,” that Mr. French had “made it known as part of

 his testimony that he felt certain groups were ‘hostile environmental groups’ in their



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 approach to fisheries problems in Maine,” and that the forfeiture allegations in the

 Superseding Indictment “made it clear that the Government was seeking to force

 French and Haynes Timberland to forfeit large tracts of land.” Id. The Defendants

 assert:

        From [Juror Number 79]’s perspective as a juror and advocate of Maine
        fisheries habitat protection, a verdict of guilty was a victory for Maine
        fisheries habitat because there was ample reason to suspect that
        forfeited lands would be taken from French’s hands and placed into the
        trusted hands of the same federal and/or state government entities that
        he had collaborated with closely in the past. There can be no question
        that such an ulterior motive would have colored [Juror Number 79]’s
        views as a juror and would have been sufficient grounds for a challenge
        for cause at jury selection.

 Id. at 6.

        The Court views with utter skepticism the Defendants’ arguments about Juror

 Number 79’s motivations as unsupported and rank speculation at best. First, there

 is no evidence at all that Juror Number 79 was engaged in any type of “crusade” as

 the Defendants allege. Second, the Defendants quote the trial testimony of Mr.

 French about “hostile environmental groups,” but obviously, Mr. French had not

 given that testimony at the time of jury selection and there is no reason to believe

 that Juror Number 79 knew anything about Mr. French or his attitudes toward

 environmental groups when he answered the voir dire questions.13 Third, although

 the Defendants assert that Juror Number 79 was motivated by the prospect of a land

 forfeiture to the state or federal government, the truth is that the Magistrate Judge



 13     Among the questions Juror Number 79 denied was any knowledge of Malcolm French, Haynes
 Timberland, Inc. and the other Defendants and the Defendants have presented no evidence that this
 was untrue. See Voir Dire Tr. 9:8-14, 76:12-14, 131:16-24.

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 did not mention the forfeiture issue to the jury during voir dire. Voir Dire Tr. 8:15-

 10:9. On this record, Juror Number 79 would not have known anything about the

 forfeiture issue when he responded to the voir dire questions.14

       The Defendants have presented no good reason as to why Juror Number 79

 would have hidden his knowledge of Steve Koenig.                    Their arguments about his

 motivations are simply manufactured out of thin air.

       Based on the First Circuit’s teaching in Sampson, there is no basis to conclude

 that if the Magistrate Judge had been presented with the fact that (1) Juror Number

 79 had spoken with Steve Koenig one time in approximately 2013 for five to ten

 minutes, (2) they had spoken about a project that abutted Acadia National Park, (3)

 they were both generally involved in fisheries restoration, (4) they had never met, (5)

 they would not recognize each other, (6) Mr. Koenig was listed as a defense witness

 but might be called as a prosecution witness, and (7) nothing Mr. Koenig was likely

 to say was going to be controversial, a reasonable trial judge would have sustained a

 challenge for cause because there would have been no valid basis to “conclude under

 the totality of the circumstances that the juror lacked the capacity and the will to

 decide the case based on the evidence (and that, therefore, a valid basis for excusal

 for cause existed).” Sampson, 724 F.3d at 165-66.

       D.      The Right to a Hearing

               1.      General Legal Principles




 14    The seated jurors did not learn about the forfeiture issue until after the guilty verdicts.

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         This brings the Court to the last issue, which in the Court’s view is the most

 difficult: whether in the circumstances of this case the Defendants have a right to a

 hearing in which Juror Number 79 is questioned. In their motion, the Defendants

 demand an evidentiary hearing. French Mot. at 7. They maintain that they have

 presented a “non-frivolous” claim justifying a hearing. French Reply at 1. In their

 reply, the Defendants expand on this request and say that they would like the Court

 to “conduct an evidentiary hearing and interview Juror #79 and Steve Koenig.” Id.

 at 3.   As Mr. Koenig testified at the March 17, 2015 hearing, this part of the

 Defendants’ request has been satisfied. Nevertheless, the Defendants would still like

 the Court to require that Juror Number 79 subject himself to questioning about the

 nature of his prior relationship with Mr. Koenig and to answer why he did not respond

 affirmatively that he knew Mr. Koenig.

         The Government acknowledges that the threshold for holding such a hearing

 is “not particularly high.” Gov’t’s Opp’n at 5. Yet, the Government points to a

 “‘presumption of jury impartiality,’” id. (quoting United States v. Barshov, 733 F.2d

 842, 851 (11th Cir. 1984)), and the concern that the Court not “‘intru[de] into the

 sphere of jury privacy.’” Id. (quoting Neron v. Tierney, 841 F.2d 1197, 1205 (1st Cir.

 1988)). It also cites caselaw that suggests a trial court is not required to hold such a

 hearing unless the defendant has made a “‘colorable showing of extrinsic evidence

 that the court must investigate the asserted [jury] impropriety.’” Id. (quoting United

 States v. Davis, 15 F.3d 1393, 1412 (7th Cir. 1994)).




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        There is language in some cases that suggests a trial court must hold an

 evidentiary hearing whenever there is an allegation of juror impropriety. In Smith

 v. Phillips, 455 U.S. 209 (1982), for example, the Supreme Court wrote that “[t]his

 Court has long held that the remedy for allegations of juror partiality is a hearing in

 which the defendant has the opportunity to prove actual bias.” Id. at 215. The Smith

 Court went on to say:

        Due process means a jury capable and willing to decide the case solely
        on the evidence before it, and a trial judge ever watchful to prevent
        prejudicial occurrences and to determine the effect of such occurrences
        when they happen. Such determinations may properly be made at a
        hearing like that ordered in Remmer [v. United States, 347 U.S. 227
        (1954)] and held in this case.

 Id. at 217. Indeed, in Smith, the Supreme Court wrote that “[p]reservation of the

 opportunity to prove actual bias is a guarantee of a defendant’s right to an impartial

 jury.” Id. at 216 (internal citations and quotation marks omitted). Two years later,

 in McDonough, Justice Blackmun, joined by Justices Stevens and O’Connor in

 concurrence, stressed that the right to a hearing must rest in the discretion of the

 trial judge:

        [I]t remains within a trial court’s option, in determining whether a jury
        was biased, to order a post-trial hearing at which the movant has the
        opportunity to demonstrate actual bias or, in exceptional circumstances,
        that the facts are such that bias is to be inferred.

 464 U.S. at 556-57.

        The First Circuit has instructed that if a “nonfrivolous suggestion is made that

 a jury may be biased or tainted by some incident, the district court must undertake

 an adequate inquiry to determine whether the alleged incident occurred and if so,



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 whether it was prejudicial.” United States v. Gaston-Brito, 64 F.3d 11, 12 (1st Cir.

 1995) (internal citations and quotation marks omitted).         The First Circuit has

 emphasized, however, that the trial court “has ‘discretion to determine the extent and

 type of investigation requisite to a ruling on the motion [for mistrial].’” Id. (quoting

 United States v. Doe, 513 F.2d 709, 712 (1st Cir. 1975)).

              2.     A Fair Hearing

       The Court has a number of concerns about the fairness of hauling Juror

 Number 79 into court and demanding that he testify to what he was thinking during

 jury voir dire over one year ago. First, if the name Steve Koenig was unfamiliar to

 Juror Number 79 on January 8, 2014, when the jury was selected, it is not now. Mr.

 Koenig testified at the trial and, through his testimony, Juror Number 79 learned

 specifics about Mr. Koenig’s background, his role in Project SHARE, and his work in

 Township 37, and this information would be difficult for Juror Number 79 to erase

 from his memory. In addition, Mr. Koenig confirmed that Juror Number 79 has been

 in touch with him since the verdict to use him as a consultant for fisheries work. See

 Investigative Report at 2-3. Juror Number 79 would be asked to do what many people

 find difficult: look back in time and separate out what they knew then from what they

 know now.

       Second, although the parties have been intensely involved in the circumstances

 surrounding the January 8, 2014 voir dire, there is no indication that Juror Number

 79 has given jury selection a moment’s thought since then. The Court is deeply

 concerned about the fairness of bringing Juror Number 79 into court, confronting him



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 with the Magistrate Judge’s list of witnesses, pointing out that Steve Koenig was on

 the list, and demanding that he explain whether and how he knew Mr. Koenig before

 jury selection and why he failed to reveal his knowledge.

        Third, it is very difficult well over a year after the jury voir dire to recreate

 what exactly happened at the voir dire. To be fair to Juror Number 79, at the very

 least, it would be important for him to know exactly what the Magistrate Judge told

 the jury venire and allow him to recapture what he might have thought when he

 heard and read Mr. Koenig’s name in light of the judge’s instructions.

        Fourth, many individuals would find the contemplated hearing nerve-racking

 in the extreme. Having sat on a three-week trial, having acted as foreman of the jury,

 having deliberated with other members of the jury, and having issued a verdict

 finding the Defendants guilty of numerous serious federal crimes, the foreman would

 find himself back in the same court over a year later, presided over by the same judge,

 looking at the same federal prosecutors, the same five defense lawyers, and the same

 Defendants. There is no telling how Juror Number 79 would respond to the prospect

 of such an inquisition, but many people would find the experience daunting and

 confusing. He might, for example, be concerned enough to demand the right to

 counsel or invoke his Fifth Amendment right to remain silent, especially given there

 is the theoretical possibility of criminal liability attached to this issue.15 Colombo,



 15      Although the Court rejected the Defendants’ unsupported theory that Juror Number 79 had
 an “ulterior motive” to fail to reveal his prior relationship with Mr. Koenig, this part of the defense
 argument is premised on the accusation that Juror Number 79 deliberately misled the Court during
 voir dire. French Mot. at 5-6 (“There is a significant reason why [Juror Number 79] would not have
 wanted to reveal a relationship to Koenig: it would have demonstrated that [Juror Number 79] had a
 personal interest in the outcome of the trial in this case”).

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 869 F.2d at 151 (“Knowingly lying during the voir dire . . . subjected the juror to

 possible criminal contempt pursuant to 18 U.S.C. § 401”).

        Fifth, even looking at the Defendants’ motion in a most genial way, they have

 not alleged a “smoking gun” lie by Juror Number 79 and they have filed it late. This

 case is not like most others that the Court has reviewed. The Ninth Circuit in Dyer

 addressed juror lies so egregious and obvious that the appeals court described her as

 Pinocchio. 151 F.3d at 979-81. Here, the Defendants’ allegations against Juror

 Number 79 are much more ambiguous and speculative. Furthermore, most issues of

 juror misconduct are brought to the Court’s attention during voir dire, during trial,

 or immediately thereafter.16 Here, the Defendants did not file their motion for new

 trial until October 3, 2014, nearly nine months after jury selection.

        Finally, the Supreme Court held last year that Rule 606 of the Federal Rules

 of Evidence prohibits a court from receiving evidence about what was said during jury

 deliberations. Warger v. Shauers, 135 S. Ct. 521 (2014) (interpreting FED. R. EVID.

 606(b)).   Accordingly, any inquiry of Juror Number 79 would be circumscribed.

 United States v. Powell, 469 U.S. 57, 67 (1984) (“Courts have always resisted

 inquiring into a jury’s thought processes”).

                3.      Resolution

        For the reasons just reviewed, the Court will not schedule an evidentiary

 hearing at which Juror Number 79 is called to testify. The situation was different



 16      In United States v. Meader, 118 F.3d 876 (1st Cir. 1997), for example, where the trial judge
 brought the juror in for questioning, the jury handed down the verdict on March 27, 1996 and defense
 counsel alerted the court to a possible issue of juror bias on April 19, 1996. Id. at 878.

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 regarding Mr. Koenig. At least Mr. Koenig was aware of the issue and presumably

 gave the matter some thought before his testimony during the March 17, 2015

 hearing, both from his conversations with defense counsel and with the Government

 investigator, so that none of this would come as a surprise to him. By contrast, there

 are obvious drawbacks to an evidentiary hearing in which Juror Number 79 is

 questioned.

       One important policy consideration is the impact of post-verdict juror

 questioning, not only on this juror, but also on jurors as a whole. It is for good reason

 that the First Circuit has cautioned against direct contact with jurors after a verdict.

 Meader, 118 F.3d at 878 (describing “First Circuit authority strongly disfavoring

 direct contact with jurors”); United States v. Kepreos, 759 F.2d 961, 967 (1st Cir.

 1985). “The restrictions on post-verdict contact and the limitations on juror testimony

 about deliberations, Federal Rule of Evidence 606(b), exist to protect important

 interests in the finality of the verdict and the privacy of the deliberations.” United

 States v. Walsh, 75 F.3d 1, 8 (1st Cir. 1996). The First Circuit has limited such post-

 trial juror contacts to “‘extraordinary situations.’” Dall v. Coffin, 970 F.2d 964, 972

 (1st Cir. 1992) (quoting Kepreos, 759 F.2d at 967); see also United States v. Swan, No.

 1:12-cr-00027-JAW-02, 2013 U.S. Dist. LEXIS 110915 (D. Me. Aug. 7, 2013)

 (declining co-defendant’s request to interview jurors who participated in trial

 resulting in guilty verdict of co-defendant). If the rule were otherwise, disappointed

 litigants, especially criminal defendants facing the life-changing consequences of an




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 adverse verdict, would routinely seek to challenge not only the soundness of the

 verdict itself, but also the integrity of the jurors who issued it.

        Although the Court could require Juror Number 79 to appear before the Court,

 see Meader, 118 F.3d at 878, it also has the discretion not to bring in Juror Number

 79. See United States v. Boylan, 898 F.2d 230, 258 (1st Cir. 1990) (“The trial judge

 may, but need not, convene a fullblown evidentiary hearing”). For example, in the

 First Circuit case of Neron, the defendant claimed that his “son had dated a woman

 who later became a juror.” 841 F.2d at 1203. The First Circuit found that the trial

 court’s refusal to recall the juror was sound, as the defendant “was obliged to make a

 more cogent showing before it became constitutionally imperative to recall the juror

 . . . [and] embodied evidence so sparse, a pyramiding of inferences so fragile, a thesis

 so speculative, as to envelop the bias/misconduct charge in a miasma of doubt.” Id.

 This case is no different.

        Moreover, as a consequence of Mr. Koenig’s testimony on March 17, 2015, the

 Court narrowed the factual question of his pre-trial direct contacts with Juror

 Number 79. First, the Court determined that Mr. Koenig did not speak directly to

 Juror Number 79 before 2013 and that he spoke to him only once in 2013 for five to

 ten minutes. Second, although the Defendants charged that Mr. Koenig and Juror

 Number 79 actually discussed the Township 37 project itself, the Court found that

 there is no evidence of any discussion between Mr. Koenig and Juror Number 79

 about the project in Township 37. Third, the First Circuit instructs this Court to

 conduct an “adequate inquiry” concerning the Defendants’ allegations, Gaston-Brito,



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 64 F.3d at 12, and this Court has concluded that the investigative report and the

 March 17, 2015 hearing were sufficient to allow the proper resolution of this motion.

 Having heard and evaluated Mr. Koenig’s testimony, as well as the additional

 evidence presented by the parties, the Court concludes that it has “fashion[ed] a

 responsible procedure for ascertaining whether misconduct actually occurred and if

 so, whether it was prejudicial.” Boylan, 898 F.2d at 258. The Court need not bring

 in Juror Number 79.

        E.      Summary

        In McDonough, then Justice Rehnquist wrote:

        To invalidate the result of a 3-week trial because of a juror’s mistaken,
        though honest, response to a question, is to insist on something closer to
        perfection than our judicial system can be expected to give. A trial
        represents an important investment of private and social resources, and
        it ill serves the important end of finality to wipe the slate clean simply
        to recreate the peremptory challenge process because counsel lacked an
        item of information which objectively he should have obtained from a
        juror on voir dire examination.

 464 U.S. at 555. To invalidate the result of the Defendants’ nearly three-week trial

 where they have failed to demonstrate that Juror Number 79 was mistaken at all,

 much less dishonestly so, is “to insist on something closer to perfection than our

 judicial system can be expected to give.” Id.

  V.    CONCLUSION

        The Court DENIES Defendants’ Motion for New Trial (F.R. Crim. P. 33(a))

 (ECF No. 440).17


 17      At Mr. French’s motion, the Court sealed his motion for new trial and upon motion of the other
 parties, their subsequent filings. See Mot. to File Def.’s Mot. for New Trial Under Seal (ECF No. 439);
 Order (ECF No. 443). The parties have suggested redacted versions of their filings, but the Court

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        SO ORDERED.

                                                /s/ John A. Woodcock, Jr.
                                                JOHN A. WOODCOCK, JR.
                                                UNITED STATES DISTRICT JUDGE

 Dated this 27th day of April, 2015




 intends to issue an order, directing the parties to make certain changes in those filings. Once the
 Court has issued the redaction order and the parties have complied with it, this Order will be unsealed
 as currently drafted. If the parties wish to move the Court to seal any part of this Order, they must
 act quickly.

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